      Case 0:19-cv-61430-FAM Document 3 Entered on FLSD Docket 06/07/2019 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Southern District of Florida


      Elizabeth E. Belin and Christopher Mitchell,                   )
    individually and on behalf of all others similarly               )
                        situated,                                    )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 0:19-cv-61430-FAM
                                                                     )
  Health Insurance Innovations, Inc. and Health Plan                 )
            Intermediaries Holdings, LLC,                            )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Health Insurance Innovations, Inc.
                                           Registered Agent - Corporation Service Company
                                           1201 Hays Street
                                           Tallahassee, FL 32301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jason Kellogg, Esq.
                                           Levine Kellogg Lehman Schneider + Grossman LLP
                                           Citigroup Center - 22nd Floor
                                           Miami, Florida 33131
                                           Telephone: 305-403-8788


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




             Jun 7, 2019                                                                           s/ P. Curtis
Date:
      Case 0:19-cv-61430-FAM Document 3 Entered on FLSD Docket 06/07/2019 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                    Southern District of Florida


      Elizabeth E. Belin and Christopher Mitchell,                   )
    individually and on behalf of all others similarly               )
                        situated,                                    )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 0:19-cv-61430-FAM
                                                                     )
  Health Insurance Innovations, Inc. and Health Plan                 )
            Intermediaries Holdings, LLC,                            )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Health Plan Intermediaries Holdings, LLC
                                           Registered Agent - Corporation Service Company
                                           1201 Hays Street
                                           Tallahassee, FL 32301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jason Kellogg, Esq.
                                           Levine Kellogg Lehman Schneider + Grossman LLP
                                           Citigroup Center - 22nd Floor
                                           Miami, Florida 33131
                                           Telephone: 305-403-8788


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date:        Jun 7, 2019                                                                          s/ P. Curtis
